
PER CURIAM.
We have for review Gregersen v. State, 714 So.2d 1195 (Fla. 4th DCA 1998), which certified conflict with the decision in Peart v. State, 705 So.2d 1059 (Fla. 3d DCA 1998). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.
This Court recently held in Peart v. State, 756 So.2d 42 (Fla.2000), that a petition for writ of error coram nobis was the proper vehicle for raising a claim that a noncustodial defendant was not advised of the immigration consequences of a plea. We emphasize that all such claims filed subsequent to our decision in Wood v. State, 750 So.2d 592 (Fla.1999), must be filed pursuant to a motion under Florida Rule of Criminal Procedure 3.850. See Peart, 756 So.2d at 45. Gregersen is approved as being consistent with our decision in Peart.
It is so ordered.
SHAW, ANSTEAD, PARIENTE and LEWIS, JJ., concur.
HARDING, C.J., and WELLS and QUINCE, JJ., dissent.
